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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


 IN RE:     Restrictions on Access to                  CASE NO. 6:20-cv-1824-PGB-LHP
            Judge Byron’s Courtroom

                                            /

                                    COVID–19 ORDER

        This Order is intended to protect the health and well-being of the Court’s

 personnel during these unprecedented times and reflects the reality that some

 individuals who have business before the Court may have declined to receive

 available COVID-19 vaccinations. While every lawyer, witness, client, and client

 representative appearing before the Court may be fully vaccinated, the Court does

 not have access to such information.

        Therefore, in an abundance of caution, it is ORDERED as follows: 1

        1. Unvaccinated attorneys, paralegals, and their support staff scheduled to

            be present at a hearing or trial must file a motion for leave to appear in

            person no later than 30 days before the scheduled hearing or trial. The

            Court may, in its discretion, direct unvaccinated counsel to appear

            remotely, such as via zoom, for hearings and trial, and may deny entry to

            unvaccinated paralegals and support staff. Hearings and/or trials will not




 1   Any individual affected by this Order who is unable to receive a COVID-19 vaccination due to
     a disability shall notify the Court no later than 30 days before the scheduled hearing so it
     may determine if a reasonable accommodation is feasible. This Order supplements Chief
     Judge Corrigan’s COVID-19 Order dated January 21, 2022.
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          be continued simply because counsel or his/her support staff are

          unvaccinated and are precluded from entering the courtroom.

       2. Fully vaccinated attorneys, paralegals, and their support staff may appear

          for a hearing or trial without separate leave of the Court. An individual is

          fully vaccinated 14 days after receiving the last dose of the COVID–19

          vaccine. However, an individual is not fully vaccinated if they have

          neglected to receive an available booster vaccination. Proof of vaccination

          may be required by the Court for in-person appearances by counsel and

          their support staff.

       3. No person may enter Judge Byron’s courtroom, even if fully vaccinated,

          if that individual has experienced COVID–19 symptoms until at least 10

          days have passed since the onset of symptoms. Unvaccinated individuals

          with permission to appear in Judge Byron’s courtroom shall always wear

          a medical grade or surgical mask (no cloth masks). Face shields are not a

          substitute for a medical grade mask.

       4. Each attorney appearing before the Court shall notify the Court at least

          14 days prior to a hearing and at least 30 days before trial if any witness

          to be called by counsel has not been fully vaccinated or has declined to

          state his or her vaccination status. This requirement extends to clients

          and client representatives who wish to sit at counsel table. The Court may

          require any individual who cannot provide documentation that they are

          fully vaccinated to appear remotely.



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       DONE AND ORDERED in Orlando, Florida on April 5, 2022.




 Copies furnished to:
 Counsel of Record
 Unrepresented Parties




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